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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                      Chapter 11

    MADISON SQUARE BOYS & GIRLS CLUB,                           Case No. 22-10910-SHL
    INC.,1
              Debtor.


      SUMMARY COVER SHEET TO THE SECOND AND FINAL APPLICATION OF
        DUNDON ADVISERS LLC FOR ALLOWANCE OF COMPENSATION FOR
     PROFESSIONAL SERVICES RENDERED AS CO-FINANCIAL ADVISOR TO THE
              OFFICIAL COMMITTEE OF UNSECURED CREDITORS
        FOR THE PERIOD FROM AUGUST 8, 2022 THROUGH AUGUST 21, 2023


             In accordance with the Local Rules for the Southern District of New York, Dundon

Advisers LLC (“Dundon” or the “Firm”), co-financial advisor to the Official Committee of

Unsecured Creditors (the “Committee”) for the above-captioned debtor and debtor in possession

(the “Debtor”), submits this summary (this “Summary”) of fees sought as actual, reasonable, and

necessary in the second and final application to which this Summary is attached (the

“Application”)2 for the period from August 8, 2022 through August 21, 2023 (the “Final

Application Period”).

             The Firm submits the attached Application as a final fee application in accordance with the

Order Pursuant to 11 U.S.C. §§ 105(A) and 331 Establishing Procedures for Monthly Compensation

and Reimbursement of Expenses of Professionals dated and entered August 12, 2022 [Docket No.

125] (the “Interim Compensation Order”).




The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is 250
1

Bradhurst Avenue, New York, New York 10039.
2
  Capitalized terms used but not otherwise defined in this Summary shall have the meanings ascribed to such terms
in the Application.



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 Name of applicant                                        Dundon Advisers LLC
 Name of client                                           Official Committee of Unsecured Creditors
 Second Application Period                                March 1, 2023 – August 21, 2023
 Final Application Period                                 August 8, 2022 – August 21, 2023
 Petition date                                            June 29, 2022
 Date of order approving employment                       January 6, 2023, effective as of August 8, 2022
 Total fees incurred, before discounts, during the
 Second Application Period (for which approval            $26,696.00
 has not previously been sought)
                                                          Total fees without discounts: $188,263.00
 Total fees entitled to be received on account of
                                                          15% discount required by Plan: $28,239.45
 services rendered in the Final Application Period,
 after discounts
                                                          Total fees for which approval is sought:
                                                          $160,023.55
                                                          Total fees without discounts: $6,000
 Total fees sought for the period August 22, 2023
 – October 5, 2023 (the “Post Effective Date              15% discount required by Plan: $900
 Period”)
                                                          Total fees for which approval is sought: $5,100
 Total expenses sought                                    None.
 Total compensation for which approval is sought.         $165,123.55
 Total compensation approved by interim order             First Interim Period: $161,567.00, approved by
 to date                                                  order entered May 24, 2023 [Docket No. 504]

This is a Final Application.

Dated: October 4, 2023                                     DUNDON ADVISERS LLC




                                                           Matthew Dundon
                                                           Ten Bank Street, Suite 1100
                                                           White Plains, NY 10606
                                                           Telephone: 914.341.1188
                                                           Email: md@dundon.com

                                                           Co-Financial Advisor to the Official
                                                           Committee of Unsecured Creditors




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                      Chapter 11

    MADISON SQUARE BOYS & GIRLS CLUB,                           Case No. 22-10910-SHL
    INC.,1
              Debtor.


        SECOND AND FINAL APPLICATION OF DUNDON ADVISERS LLC FOR
    ALLOWANCE OF COMPENSATION FOR PROFESSIONAL SERVICES RENDERED
    AS CO-FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED
                     CREDITORS FOR THE PERIOD FROM
                  AUGUST 8, 2022 THROUGH AUGUST 21, 2023

             Dundon Advisers LLC (the “Firm”), co-financial advisor to the Official Committee of

Unsecured Creditors (the “Committee”) of the debtor and debtor in possession in the above-

captioned case (the “Debtor”), hereby submits its second and final fee application (the

“Application”) for the period from August 8, 2022 through August 21, 2023 (the “Final

Application Period”) in accordance with the Order Pursuant to 11 U.S.C. §§ 105(A) and 331

Establishing Procedures for Monthly Compensation and Reimbursement of Expenses of

Professionals dated and entered August 12, 2022 [Docket No. 125] (the “Interim Compensation

Order”).

             In support of the Application, the Firm submits the declaration of Matthew Dundon,

attached hereto as Exhibit A and incorporated herein by reference. In further support of the

Application, the Firm respectfully states as follows:

                                           Preliminary Statement

                   1.       The Firm requests: (a) final allowance of compensation in the amount of

$26,696.00 for fees on account of reasonable and necessary professional services rendered for the


The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is 250
1

Bradhurst Avenue, New York, New York 10039.
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period from March 1, 2023 through August 21, 2023 (the “Second Application Period”), (b) final

allowance of compensation in the amount of $160,023.55 for fees on account of reasonable and

necessary professional services rendered for the period August 8, 2022 through August 21, 2023

(the “Final Application Period”); and (c) final allowance of compensation in the amount of $5,100

for fees incurred for the preparation of Dundon’s final fee application for the period August 22,

2023 through October 5, 2023 (the “Post Effective Date Period”).

                                 Jurisdiction and Basis for Relief

               2.       The United States Bankruptcy Court for the Southern District of New York

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This matter

is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

               3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

               4.       The bases for the relief requested in this Application are sections 330 and

331 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), Rule

2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1(a) of

the Local Rules for the Southern District of New York (the “Local Rules”), the Amended

Guidelines for Fees and Disbursements for Professionals in Southern District of New York

Bankruptcy Cases (the “Local Guidelines”), and the Interim Compensation Order.

                                            Background

               5.       On June 29, 2022 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code. The Debtor is operating its business and

managing its properties as debtor in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No trustee or examiner has been appointed in this case.




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                6.       On July 13, 2022, the Office of the United States Trustee (the “UST”)

appointed the Committee pursuant to section 1102 of the Bankruptcy Code. See Notice of

Appointment of Official Committee of Unsecured Creditors [Docket No. 53].

                7.       On August 12, 2022, the Court entered the Interim Compensation Order,

which sets forth the procedures for interim compensation and reimbursement of expenses for all

retained professionals in these cases.

A.      The Firm’s Retention

                8.       On August 8, 2022, the Committee selected the Firm and Island Capital

Advisor LLC as its financial advisers in this case. On November 15, 2022, the Committee filed

The Official Committee of Unsecured Creditors’ Application to Retain and Employ Dundon

Advisers LLC (the “Retention Application”) [Docket No. 290]. On January 6, 2023, the Court

entered an Order Authorizing and Approving the Employment of Dundon Advisers LLC (the

“Retention Order”) [Docket No. 338]. The Retention Order authorized the Firm to be compensated

on an hourly basis, and to be reimbursed for actual and necessary out-of-pocket expenses.

B.      Compensation Paid and Its Source

                9.       All services for which the Firm requests compensation were performed for

or on behalf of the Committee. The Firm has received no payment and no promises for payment

from any source other than the Debtor for services rendered or to be rendered in any capacity

whatsoever in connection with the matters covered by this Application. There is no agreement or

understanding between the Firm and any other person other than the partners of the Firm for the

sharing of compensation to be received for services rendered in this case. The Firm has not

received a retainer in this case.




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C.     Monthly Fee Statements and Invoices

                10.      Attached hereto as Composite Exhibit D are the Firm’s time entries from

and after March 1, 2022, after the conclusion of the First Interim Period.

                11.      Set forth below is a chart outlining the fees that the Debtor has paid the

Firm to date on account of the Firm’s Monthly Fee Statements.

     Date             Period Covered       Requested       Requested         Fees          Expenses
 Monthly Fee                                 Fees          Expenses       Paid (80%)          Paid
  Statement                                                                                 (100%)
    Filed
   02/21/23            8/8/22-8/31/22       $36,549.00            $0.00    $29,239.20            $0.00
   02/21/23            9/1/22-/9/30/22       $9,102.00            $0.00     $7,281.60            $0.00
   02/21/23           10/1/22-10/31/22      $51,087.00            $0.00    $40,869.60            $0.00
   02/21/23           11/1/22-11/30/22      $23,772.00            $0.00    $19,017.60            $0.00
   02/21/23           12/1/22-12/31/22      $11,673.00            $0.00     $9,338.40            $0.00
   07/21/23            3/1/23-3/31/23        $8,664.00            $0.00     $6,931.20            $0.00
   07/21/23            4/1/23-4/30/23        $6,260.50            $0.00     $5,008.40            $0.00
   07/21/23            5/1/23-5/31/23        $2,071.00            $0.00     $1,656.80            $0.00
   07/21/23            6/1/30-6/30/23        $1,244.50            $0.00       $995.60            $0.00

                12.      Set forth below is a chart outlining the fees that the Debtor has paid the

Firm to date on account of the Firm’s Interim Fee Statements for the Final Application Period, in

accordance with the Interim Compensation Order:

      Date            Period Covered       Requested       Requested      Amounts          Amount
  Interim Fee                              Fees and        Expenses       Previously        Due on
   Statement                               Expenses                          Paid          Approval
     Filed
    4/14/23            8/8/22-2/28/23      $161,567.00            $0.00   $105,746.40      $55,820.60

                       Statement of Services Rendered and Time Expended

                13.      Pursuant to the Local Guidelines, the Firm has classified all services it has

performed from and after March 1, 2023 for which compensation is sought into one of several

major categories. The Firm attempted to place the services performed in the category that best




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relates to the service provided. However, because certain services may relate to one or more

categories, services pertaining to one category may be included in another category.

                 14.      Exhibit B sets forth a timekeeper summary that includes the name, job title,

standard hourly billing rate, total hours billed, and total compensation for each Firm professional

and paraprofessional who provided services to the Committee during the Final Application Period.

                 15.      Exhibit C sets forth a task code summary that includes the aggregate hours

per task code spent by the Firm’s professionals and paraprofessionals in rendering services to the

Committee during the Second Interim Period and Final Application Period.

                       Services Rendered and Disbursements Incurred Between
                                 March 1, 2023 and August 21, 20232

A.      Business Analysis

                 16.      Time billed to this category relates to work regarding assisting in the

analysis, review, and monitoring of the restructuring process, including, but not limited to, an

assessment of the unsecured claims pool and potential recoveries for unsecured creditors,

developing a complete understanding of the Debtor's operations, activities, assets, and such assets'

valuations, provided, however, that Island has primary responsibility for real estate matters,

providing the financial, forensic, and business assessments to enable Committee counsel at

Pachulski Stang Ziehl & Jones LLP to determine if any assets purported to be restricted from use

(by donor intent or otherwise) to resolve liabilities of the Debtor, are in fact so restricted, and




2
 See the First Application of Dundon Advisers LLC for Interim Allowance of Compensation for Professional Services
Rendered as Co-Financial Advisor to the Official Committee of Unsecured Creditors of the Debtor for the Period
from August 8, 2022 through February 28, 2023 [Docket No. 432] for the breakdown of time incurred during the First
Interim Period (i.e., August 8, 2022 through February 28, 2023).




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providing the financial, forensic, and business assessments to enable Committee counsel to

determine what insurance coverage may be available to resolve liabilities of the Debtor.

        Fees: $3,230                        Hours: 6.8

B.      Plan and Disclosure Statement

                17.      Time billed to this category relates related to reviewing and providing

analysis of any proposed disclosure statement, chapter 11 plan, or settlement with the debtor that

serves as a template for to be filed chapter 11 plan and disclosure statement and, if appropriate,

assisting the Committee in developing an alternative plan of reorganization and disclosure

statement.

        Fees: $5,472                        Hours: 7.2

C.      Investigations

                18.      Time billed to this category related determining whether there are viable

alternative paths for the disposition of the Debtor's assets (e.g., restructuring, sale) from those

proposed by the Debtor, assisting the Committee in identifying, valuing, and pursuing estate causes

of action, including, but not limited to, relating to pre-petition transactions, control person liability

and lender liability, and reviewing the Debtor's financial reports, including, but not limited to,

statements of financial affairs, schedules of assets and liabilities, cash budgets, and monthly

operating reports.

        Fees: $1,368                        Hours: 1.8

D.      Retention and Fee Applications

                19.      Time billed to this category relates to keeping track of time entries and

submitting retention and fee applications.

        Fees: $13,799                      Hours: 20.1




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E.     Exit and Post-Effective Date Planning

               20.    This category includes time spent on all matters related to formulating a

strategy and implementing procedures for handling the estate’s affairs after the Debtors’ chapter

11 plan is confirmed and deemed effective.

       Fees: $532                        Hours: 0.7

               21.    The nature of work performed by the Firm between March 1, 2023 and

August 21, 2023 is set forth in Composite Exhibit D. The reasonable and standard value of the

services the Firm rendered for and on behalf of the Committee during this period is $26,696.00.

                                           Conclusion

               22.    In accordance with the factors enumerated in section 330 of the Bankruptcy

Code, it is respectfully submitted that the fee amount for which the Firm requests to be

compensated by this Application is fair and reasonable given (a) the complexity of the case, (b)

the time the Firm’s professionals and paraprofessionals have expended, (c) the nature and extent

of the services rendered, (d) the value of such services, and (e) the costs of comparable services

other than in a case under the Bankruptcy Code. Moreover, the Firm believes that this Application

complies with the Local Rules, the Local Guidelines, and the Interim Compensation Order.

                                             Notice

               23.    Pursuant to the Interim Compensation Order, the Application has been

served upon: (a) the Debtor, Madison Square Boys and Girls Club, Inc., 250 Bradhurst Avenue,

New York, New York 10039 (Attn.: Mr. Tim McChristian); (b) Debtor’s counsel: Paul, Weiss,

Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New York 10019

(Attn.: Alan W. Kornberg, Esq.; Andrew M. Parlen, Esq.; John T. Weber, Esq.; and Shafaq Hasan,

Esq.); and (c) William K. Harrington, United States Trustee for Region 2, U.S. Department of

Justice, Office of the U.S. Trustee, 201 Varick Street, Room 1006, New York, New York 10014


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(Attn.: Andrea B. Schwartz, Esq. and Tara Tiantian, Esq). The Firm submits that, in light of the

nature of the relief requested, no other or further notice need be provided.

                                        No Prior Request

               24.     No prior application for the relief requested in this Application has been

made to this or any other court, except insofar as the First Interim Fee Application and the Monthly

Fee Statements may be deemed to be such prior applications.

               WHEREFORE, the Firm respectfully requests that this Court enter an order:

(a) allowing the Firm compensation for services rendered during the Final Application Period in

the amount of $160,023.55 on account of reasonable and necessary professional services rendered

to and for the benefit of the Committee; (b) authorizing additional compensation to the Firm in the

amount of $5,100 for fees incurred for the preparation of Dundon’s final fee application for the

Post Effective Date Period; and (c) granting any other relief that this Court deems necessary and

appropriate.


 Dated: October 4, 2023                  DUNDON ADVISERS LLC



                                         Matthew Dundon
                                         Ten Bank Street, Suite 1100
                                         White Plains, NY 10606
                                         Telephone: 914.341.1188
                                         Fax: 212.202.4437
                                         Email: md@dundon.com

                                         Co-Financial Advisor to the Official Committee of
                                         Unsecured Creditors




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                      Chapter 11

    MADISON SQUARE BOYS & GIRLS CLUB,                           Case No. 22-10910-SHL
    INC.,1
              Debtor.


    ORDER GRANTING SECOND AND FINAL APPLICATION OF DUNDON ADVISERS
     LLC FOR ALLOWANCE OF COMPENSATION FOR PROFESSIONAL SERVICES
     RENDERED AS CO-FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF
               UNSECURED CREDITORS FOR THE PERIOD FROM
                  AUGUST 8, 2022 THROUGH AUGUST 21, 2023

                 This matter came before the Court on the Final Application of Dundon Advisers

LLC for Allowance of Compensation for Professional Services Rendered as Co-Financial Advisor

to the Official Committee of Unsecured Creditors of the Debtor for the Period from August 8, 2022

through August 21, 2023 [Docket No. ____ ] (the “Application”). In the Application, Dundon

requests that the Court approve on a final basis: (a) compensation in the amount of $26,696.00 for

fees on account of reasonable and necessary professional services rendered for the Second Interim

Period, (b) compensation in the amount of $160,023.55 for fees on account of reasonable and

necessary professional services rendered for the Final Application Period; and (c) compensation

in the amount of $5,100 for fees on account of reasonable and necessary professional services

rendered for the Post Effective Date Period.




The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is 250
1

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       The Court, having considered the Application and notice of the Application appearing

adequate, determines that the Application should be, and hereby is GRANTED. Accordingly,

               IT IS THEREFORE ORDERED as follows:

       1.      The Application is GRANTED as set forth herein.

       2.      The Firm’s compensation for professional services rendered during the Second

Application Period and Final Application Period is allowed on a final basis in the amount of

$160,023.55.

       3.      The Debtor is authorized and ordered to pay to the Firm fees in the amount of

$5,100 for the Post Effective Date Period.

       4.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




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                     EXHIBIT A
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                        Chapter 11

    MADISON SQUARE BOYS & GIRLS CLUB,                             Case No. 22-10910-SHL
    INC.,2
              Debtor.



    DECLARATION OF MATTHEW DUNDON IN SUPPORT OF FINAL APPLICATION
                OF DUNDON ADVISERS LLC FOR ALLOWANCE
      OF COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AS CO-
      FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED
                    CREDITORS FOR THE PERIOD FROM
                 AUGUST 8, 2022 THROUGH AUGUST 21, 2023


                    I, Matthew Dundon, declare under penalty of perjury pursuant to 28 U.S.C. § 1746

and pursuant to Rule 2016 of the Federal Rules of Bankruptcy Procedure and Rule 2016-1(a) of

the Local Rules for the Bankruptcy Court for the Southern District of New York that the following

is true and correct:

                    1.       I am a principal at Dundon Advisers LLC (the “Firm”),3 with an office

located at Ten Bank Street, Suite 1100, White Plains, NY 10606.

                    2.       I have personally reviewed the information contained in the Application and

believe its contents to be true and correct to the best of my knowledge, information, and belief. In

addition, I believe that the Application complies with the Local Rules for the Southern District of

New York, the Amended Guidelines for Fees and Disbursements for Professionals in Southern

District of New York Bankruptcy Cases, and the Order Pursuant to 11 U.S.C. §§ 105(A) and 331




The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is 250
2

Bradhurst Avenue, New York, New York 10039.
3
    Capitalized terms not defined herein shall have the same meaning ascribed to them in the Fee Application.



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Establishing Procedures for Monthly Compensation and Reimbursement of Expenses of Professionals

dated and entered August 12, 2022 [Docket No. 125].


               Executed this 4th day of October, 2023 at White Plains, New York.


                                                         _______________________
                                                          Matthew Dundon




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                     EXHIBIT B
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                                         EXHIBIT B: Timekeeper Summary

                                             Second Application Period

                                             STANDARD                           TOTAL
  NAME OF                                                     TOTAL HOURS                           BLENDED
                           TITLE            HOURLY RATE                      COMPENSATION
PROFESSIONAL                                                    BILLED                            HOURLY RATE
                                                ($)                               ($)
  Tabish Rizvi       Managing Director          $790               24.7              $19,033.00       $771
 Michael Whalen            Associate            $475               15.80              $7,505.00       $475



                                              Final Application Period

                                             STANDARD                           TOTAL
  NAME OF                                                     TOTAL HOURS                           BLENDED
                           TITLE            HOURLY RATE                      COMPENSATION
PROFESSIONAL                                                    BILLED                            HOURLY RATE
                                                ($)                               ($)
Matthew J. Dundon          Principal            $890               20.3              $17,255.00       $850
  Tabish Rizvi       Managing Director          $790               138.6            $105,603.00       $762
 Michael Whalen            Associate            $475               164.0             $65,405.00       $399
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                     EXHIBIT C
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                                 EXHIBIT C: Task Code Summary

                                      Second Application Period

                      Category                        Hours             Amount
    Business Analysis                                 6.8                     $3,230.00
    Committee Member/Professional
    Meetings & Communications                         0.0                         $0.00
    Retention and Fee Applications                   20.3                    $13,956.50
    Claims Analysis                                   2.9                     $1,377.50
    Investigations                                    1.8                     $1,368.00
    Case Administration                               0.0                         $0.00
    Plan and Disclosure Statement                     7.2                     $5,472.00
    Exit and Post-Effective Date Planning             0.7                      $532.00
    Sales Process                                     1.0                      $760.00
                                        Total        40.7                    $26,696.00



                                       Final Application Period

                      Category                        Hours             Amount
    Business Analysis                               116.5                    $61,237.00
    Committee Member/Professional
    Meetings & Communications                         9.1                     $6,454.00
    Retention and Fee Applications                   50.4                    $30,935.00
    Claims Analysis                                   2.9                     $1,378.00
    Investigations                                   52.2                    $33,375.00
    Plan and Disclosure Statement                    87.3                    $51,630.00
    Exit and Post-Effective Date Planning             3.5                     $2,495.00
    Sales Process                                     1.0                      $760.00
                                        Total       322.9                   $188,263.00
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                     EXHIBIT D
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                                                       COMPOSITE EXHIBIT D

                                                        Second Application Period

Staff          Date             Description                                               Task                   Hours   Rate         Fee
Michael                         Reviewed MOR filed by Debtor and compared it to
               03-02-2023                                                                 Business Analysis      1.5     $475.00/hr   $712.50
Whalen                          last months to analyze changes in assets
                                Participated on call with counsel, S. Landgraber, and
Michael
               03-09-2023       T. Rizvi reviewing case updates and Navy Yard sales       Business Analysis      0.5     $475.00/hr   $237.50
Whalen
                                process
                                Correspond with Teneo regarding payment for
                                                                                          Retention and Fee
Tabish Rizvi   03-14-2023       monthly fee invoices approved by the bankruptcy                                  0.2     $760.00/hr   $152.00
                                                                                          Applications
                                court
                                Review draft of plan shared by counsel to understand      Retention and Fee
Tabish Rizvi   03-17-2023                                                                                        1.5     $760.00/hr   $1,140.00
                                overall outcome for the Survivors                         Applications
                                Prepare model for distribution analysis accounting for
                                                                                          Plan and Disclosure
Tabish Rizvi   03-22-2023       Rockefeller receiving credit for future payment of pro                           1.8     $760.00/hr   $1,368.00
                                                                                          Statement
                                forma Contribution Claim
                                Participate on call with counsel regarding distribution
                                                                                          Plan and Disclosure
Tabish Rizvi   03-22-2023       analysis accounting for Rockefeller receiving credit                             0.1     $760.00/hr   $76.00
                                                                                          Statement
                                for future payment of pro forma Contribution Claim
                                Analyzed contribution claim from Rockefeller and
Michael
               03-22-2023       made model with Tabish Rizvi to determine recovery        Claims Analysis        1.2     $475.00/hr   $570.00
Whalen
                                under different scenarios
                                Clean up 1st round of waterfall model following call
                                                                                          Plan and Disclosure
Tabish Rizvi   03-23-2023       with J. Lucas, including participating on call with M.                           0.5     $760.00/hr   $380.00
                                                                                          Statement
                                Whalen to update valuation of note
                                Prepare model for distribution analysis accounting for
                                                                                          Plan and Disclosure
Tabish Rizvi   03-23-2023       Rockefeller receiving credit for future payment of pro                           0.5     $760.00/hr   $380.00
                                                                                          Statement
                                forma Contribution Claim
                                Review model for distribution analysis accounting for
                                Rockefeller receiving credit for future payment of pro    Plan and Disclosure
Tabish Rizvi   03-23-2023                                                                                        0.7     $760.00/hr   $532.00
                                forma Contribution Claim with J. Lucas (PSZJ, UCC         Statement
                                Counsel) over zoom
Michael                         Valued note in order to analyzed contribution claim
               03-23-2023                                                                 Claims Analysis        1.7     $475.00/hr   $807.50
Whalen                          from Rockefeller at the request of counsel
                                Enhance model for distribution analysis accounting
                                                                                          Plan and Disclosure
Tabish Rizvi   03-24-2023       for Rockefeller receiving credit for future payment of                           1.2     $760.00/hr   $912.00
                                                                                          Statement
                                pro forma Contribution Claim
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Staff          Date             Description                                               Task                   Hours   Rate         Fee
                                Review enhancements to model for distribution
                                analysis accounting for Rockefeller receiving credit      Plan and Disclosure
Tabish Rizvi   03-24-2023                                                                                        0.7     $760.00/hr   $532.00
                                for future payment of pro forma Contribution Claim        Statement
                                with J. Lucas (PSZJ, UCC Counsel) over zoom
                                Follow up with M. Whalen model for distribution
                                                                                          Plan and Disclosure
Tabish Rizvi   03-24-2023       analysis accounting for Rockefeller receiving credit                             0.1     $760.00/hr   $76.00
                                                                                          Statement
                                for future payment of pro forma Contribution Claim
                                Enhance model for distribution analysis accounting
                                for Rockefeller receiving credit for future payment of    Plan and Disclosure
Tabish Rizvi   03-24-2023                                                                                        0.6     $760.00/hr   $456.00
                                pro forma Contribution Claim following call with          Statement
                                counsel
Michael                         Call with counsel reviewing allocation of contribution
               03-24-2023                                                                 Business Analysis      0.7     $475.00/hr   $332.50
Whalen                          claim and note valuation
                                Participate on call with M. Whalen regarding the          Retention and Fee
Tabish Rizvi   07-05-2023                                                                                        0.2     $790.00/hr   $158.00
                                completion of fee applications (2/21/2023)                Applications
Michael                         Analyzed all time entries and drafted fee application     Retention and Fee
               04-07-2023                                                                                        1.5     $475.00/hr   $712.50
Whalen                          with exhibits                                             Applications
Michael                         Analyzed all time entries and drafted fee application     Retention and Fee
               04-09-2023                                                                                        2       $475.00/hr   $950.00
Whalen                          with exhibits                                             Applications
                                Revise and update Interim Fee Application due to be
                                                                                          Retention and Fee
Tabish Rizvi   04-10-2023       filed on April 14th by counsel, including sharing draft                          1.5     $760.00/hr   $1,140.00
                                                                                          Applications
                                copy with PSZJ
                                Review particulars on the Interim Fee Application due     Retention and Fee
Tabish Rizvi   04-10-2023                                                                                        0.5     $760.00/hr   $380.00
                                to be filed on April 14th by counsel                      Applications
Michael                         Analyzed all time entries and drafted fee application     Retention and Fee
               04-10-2023                                                                                        1.2     $475.00/hr   $570.00
Whalen                          with exhibits                                             Applications
                                Finalize interim fee application for filing on Friday,
                                                                                          Retention and Fee
Tabish Rizvi   04-12-2023       4/14 including participating on call with G. Brown                               0.8     $760.00/hr   $608.00
                                                                                          Applications
                                (PSZJ) on topic
                                Review latest copy of plan filed in the bankruptcy,
Tabish Rizvi   04-18-2023                                                                 Investigations         1.4     $760.00/hr   $1,064.00
                                including debtor’s objection to Rockfeller’s claim
                                Participate on call with PSZJ following up on POR
Tabish Rizvi   04-18-2023       filed and status of analysis completed for                Investigations         0.1     $760.00/hr   $76.00
                                Rockefeller’s contribution claim
                                Coordinate and prepare for disclosure statement           Plan and Disclosure
Tabish Rizvi   04-26-2023                                                                                        0.1     $760.00/hr   $76.00
                                hearing scheduled for April 27th                          Statement
                                Attend scheduled Disclosure Statement Hearing with        Plan and Disclosure
Tabish Rizvi   04-27-2023                                                                                        0.9     $760.00/hr   $684.00
                                Judge Lane                                                Statement



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Staff          Date             Description                                              Task                 Hours   Rate         Fee
                                Review stipulation between Debtor and Rockefeller,
                                                                                         Retention and Fee
Tabish Rizvi   05-16-2023       including reviewing summary provided by ReOrg and                             0.4     $760.00/hr   $304.00
                                                                                         Applications
                                participating in a discussion with M. Whalen
                                Respond to UST regarding her questions about             Retention and Fee
Tabish Rizvi   05-16-2023                                                                                     0.4     $760.00/hr   $304.00
                                Dundon’s fee application                                 Applications
Michael                         Analyzed stipulation with Rockefeller to determine
               05-16-2023                                                                Business Analysis    1.3     $475.00/hr   $617.50
Whalen                          effect on survivors
                                Review email and schedule received from Debtor
                                regarding updated budget through 6/30, including
Tabish Rizvi   05-17-2023       participating in discussion with M. Whalen and R.        Investigations       0.3     $760.00/hr   $228.00
                                Chiu (separately) on analysis and confirmation of how
                                shortfall will be funded
                                Reviewed Teneo's schedule of DIP fund usage and
Michael
               05-17-2023       requested additional information such as professional    Business Analysis    1.3     $475.00/hr   $617.50
Whalen
                                fee breakout
                                Participate on call with J. Lucas to catch up on case
Tabish Rizvi   05-24-2023                                                                Sales Process        0.2     $760.00/hr   $152.00
                                and sale of Navy Yards at $12.5 million
                                Participate on call with S. Landgraber regarding sale
Tabish Rizvi   06-01-2023       of Navy Yards at $12.5 million and remaining             Sales Process        0.8     $760.00/hr   $608.00
                                workstreams on the case
Michael
               06-02-2023       Reviewed MORs at the request of counsel                  Business Analysis    0.6     $475.00/hr   $285.00
Whalen
Michael
               06-05-2023       Reviewed MORs at the request of counsel                  Business Analysis    0.9     $475.00/hr   $427.50
Whalen
                                Discuss stipulation filed in the case earlier today
                                                                                         Exit and Post-
                                around mediation between Rockefeller and the
Tabish Rizvi   06-22-2023                                                                Effective Date       0.7     $760.00/hr   $532.00
                                survivors with M. Dundon, including phone call with
                                                                                         Planning
                                J. Lucas to confirm understanding.
Michael                                                                                  Retention and Fee
               07-06-2023       Prepared monthly fee applications                                             1.4     $475.00/hr   $665.00
Whalen                                                                                   Applications
                                Finalization of 8th, 9th, 10th, and 11th monthly fee     Retention and Fee
Tabish Rizvi   07-12-2023                                                                                     0.7     $790.00/hr   $553.00
                                applications for submission and filing                   Applications
                                Prepare for filing of Interim and Final Fee
                                                                                         Retention and Fee
Tabish Rizvi   07-31-2023       Application, including corresponding with counsel on                          1.3     $790.00/hr   $1,027.00
                                                                                         Applications
                                matter
                                Review analysis and spreadsheet prepared for filing of
                                                                                         Retention and Fee
Tabish Rizvi   08-08-2023       Final Fee Application following receipt of email from                         0.1     $790.00/hr   $79.00
                                                                                         Applications
                                R. Chiu regarding 15% discount.



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Staff          Date             Description                                              Task                 Hours   Rate         Fee
                                Calculate balances and prepare for filing of Final Fee
                                                                                         Retention and Fee
Tabish Rizvi   08-08-2023       Application following receipt of email from R. Chiu                           2.2     $790.00/hr   $1,738.00
                                                                                         Applications
                                regarding 15% discount.
                                Enhance and update spreadsheet prepared for filing of
                                Final Fee Application following receipt of email from    Retention and Fee
Tabish Rizvi   08-09-2023                                                                                     4.4     $790.00/hr   $3,476.00
                                R. Chiu regarding 15% discount and revise fee            Applications
                                application form to be filed with the courts.




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